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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

COREY TOOLE,                                  )
                                              )
                   Plaintiff,                 )
                                              )
      v.                                      )
                                              )
CITY OF ATLANTA,                              ) Case No. 1:16-cv-02909-CAP
DEPUTY CHIEF RODNEY BRYANT,                   )
DEPUTY CHIEF JOSEPH SPILLANE,                 )
OFFICER ZORN, OFFICER PARKER,                 )
OFFICER BOSWER, OFFICER DOE,                  )
individually,                                 )
                                              )
                   Defendant.                 )


                  MOTION TO WITHDRAW AS COUNSEL
      Pursuant to Local Rule 83.1(E), Anissa D. Floyd hereby files this Motion to

Withdraw as Counsel for Defendants in the above-captioned action. Tamara N.

Baines with the City of Atlanta Law Department will continue to serve as counsel

for Defendants.

      The Clerk’s Office is requested to make such changes to the docket and to

the electronic notification system as are necessary to reflect this withdrawal.
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      WHEREFORE, the undersigned counsel respectfully requests that she be

permitted to withdraw as counsel for Defendants in this matter. A proposed order

is attached for the Court’s consideration.



                                                 Respectfully submitted,


                                                 By s/ Anissa D. Floyd
                                                    Tamara N. Baines
                                                    Georgia Bar No. 032460
                                                    Anissa D. Floyd
                                                    Georgia Bar No. 141747
                                                    55 Trinity Avenue, S.W.
                                                    Suite 5000
                                                    Atlanta, GA 30303-3520
                                                    Telephone: (404) 546-4100
                                                    Facsimile: (404) 546-9379


Date: November 15, 2016                             Attorneys for Defendants




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

COREY TOOLE,                                )
                                            )
                    Plaintiff,              )
                                            )
        v.                                  )
                                            )
CITY OF ATLANTA,                            ) Case No. 1:16-cv-02909-CAP
DEPUTY CHIEF RODNEY BRYANT,                 )
DEPUTY CHIEF JOSEPH SPILLANE,               )
OFFICER ZORN, OFFICER PARKER,               )
OFFICER BOSWER, OFFICER DOE,                )
individually,                               )
                                            )
                    Defendant.              )


                             CERTIFICATE OF FONT

        I hereby certify that the foregoing MOTION TO WITHDRAW AS COUNSEL was

prepared in Times New Roman 14-point font in conformance with Local Rule

5.1C.

                                            s/ Anissa D. Floyd
                                            Anissa D. Floyd




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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

COREY TOOLE,                                 )
                                             )
                   Plaintiff,                )
                                             )
      v.                                     )
                                             )
CITY OF ATLANTA,                             ) Case No. 1:16-cv-02909-CAP
DEPUTY CHIEF RODNEY BRYANT,                  )
DEPUTY CHIEF JOSEPH SPILLANE,                )
OFFICER ZORN, OFFICER PARKER,                )
OFFICER BOSWER, OFFICER DOE,                 )
individually,                                )
                                             )
                   Defendant.                )


                         CERTIFICATE OF SERVICE

      I hereby certify that on November 15, 2016, I served a true and correct copy

of MOTION TO WITHDRAW AS COUNSEL with the Clerk of Court using the CM/ECF

system, which will automatically send notification to all counsel of record.

                         (signature on the following page)
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                                 Respectfully submitted,


                                 By s/ Anissa D. Floyd
                                    Tamara N. Baines
                                    Georgia Bar No. 032460
                                    Anissa D. Floyd
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                                    Facsimile: (404) 546-9379


                                    Attorneys for Defendants
